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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE EX PARTE APPLICATION OF                    Case No.23-mc-80148-JST
                                         PATH NETWORK, INC.; AND TEMPEST
                                   8     HOSTING, LLC,
                                                                                          CLERK'S NOTICE
                                                       Plaintiff,
                                   9
                                                                                          Re: Dkt. Nos. 30, 31, 35
                                                 v.
                                  10

                                  11     DISCORD INC.,
                                                       Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          YOU ARE NOTIFIED THAT a Case Management Conference is set for April 30, 2024

                                  14   at 2:00 P.M. before the Honorable JON S. TIGAR. The Joint Case Management Conference

                                  15   Statement is due April 23, 2024 by 5:00 P.M. The Motions to Intervene, ECF Nos. 30 and 31, are

                                  16   set for hearing on March 28, 2024 at 2:00 P.M

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                                  18   Dated: February 1, 2024

                                  19
                                                                                       Mark B. Busby
                                  20                                                   Clerk of Court, United States District Court
                                  21
                                                                                       By: ________________________
                                  22                                                   Mauriona Lee, Deputy Clerk to the
                                                                                       Honorable JON S. TIGAR
                                  23                                                   510-637-3530
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